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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
SHALONYA KYLE,                      )
                                    )
            Plaintiff,              )
                                    )
      v.                            )    Civil Action No.: 1: 12-cv-1572 (RMC)
                                    )
SGT. DUNCAN BEDLION, et al.,        )
                                    )
            Defendants.             )
___________________________________ )


               REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                         PARTIAL MOTION TO DISMISS

        Plaintiff Shalonya Kyle has brought various claims against individual Metropolitan

Police Department (“MPD”) employees—Sgt. Duncan Bedlion, Officers Davis, Gamm, Rubin,

and Wright—arising out of a September 11, 2011 incident that occurred within the District of

Columbia (the “District”). Defendants filed a Partial Motion to Dismiss the Complaint and

plaintiff subsequently filed an Opposition to Defendants’ Partial Motion to Dismiss the

Complaint. Defendants, through this memorandum, file their reply..


                                           ARGUMENT


   I.      Plaintiff fails to state a claim for negligence.

        Even accepting all allegations in plaintiff’s Complaint as true, it is clear that her

Complaint can be read to allege only intentional torts, such as false arrest, assault, and

defamation. As a result, the Court should dismiss plaintiff’s claims of negligence.


        Plaintiff’s Complaint contends that allegedly false statements made by individual officers

constitute both defamation and negligence. (Complaint ¶¶ 130-32, 140-4). Plaintiff claims that


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the allegedly false statements made by individual defendants in their police reports and at her

criminal trial were malicious and intentional, and made for the “purpose of covering up their

own wrongdoing, and for the purpose of intimidation.” (Pl. Opp. at 9). At the same time,

plaintiff accuses the individual defendants of negligently making these allegedly false

statements. (Pl. Opp. at 5). Thus, plaintiff’s Complaint impermissibly combines two conflicting

theories––negligence and defamation––“into a single cause of action, in essence pleading a non-

existent cause of action.” Sabir v. District of Columbia, 755 A.2d 449, 452 (D.C. 2000). In

other words, plaintiff “seek[s] to recover by ‘dressing up the substance’ of one claim [here

defamation] in the ‘garments’ of another [here negligence].” Id. (quoting United States Nat’l

Ins. Co. v. The Tunnel, Inc., 988 F.2d 351, 354 (2d Cir. 1993)). Plaintiff’s conclusory statements

that the allegedly false statements made by the officers constitute negligence (Pl. Opp. at 5-6) do

not constitute an alternative factual scenario in support of a negligence claim. Therefore,

plaintiff’s claims of negligence relating to the defendant officers’ false statements should be

dismissed.

       Plaintiff similarly “dresses up” her assault and battery claim in the “garments” of

negligence. Id. As detailed in Defendants Partial Motion to Dismiss, plaintiff’s Complaint

repeatedly characterizes Sgt. Bedlion’s conduct as intentional and does not allege any additional

facts about the conduct that would permit a finding of negligence. (Def. Mot. at 7).

       In fact, the D.C. Court of Appeals has ruled that it is impossible, as a matter of law, to

commit a “negligent” arrest or battery. In District of Columbia v. Chinn, 839 A.2d 701 (D.C.

2003), the plaintiff alleged that the defendant police officers pulled him out of his car and

repeatedly beat him with a blunt object. The trial court allowed the plaintiff to submit both

negligence and assault and battery claims to the jury. The Court of Appeals reversed the jury



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verdict, ruling that the trial court had erred by allowing the plaintiff to pursue a separate and

distinct cause of action for negligence. The court explained that, “[w]here the excessive force is

the product of a battery, an unwanted touching inherent in any arrest, which escalates in an

unbroken manner into excessive force, the cause of action is for battery alone.” Id. at 707. In

other words, “[t]he battery did not transmogrify into negligence by the fact that officers may

have in the process mistakenly crossed the line of permissible force.” Id. at 711; see also Sabir,

755 A.2d at 452 (“it is settled that a person cannot negligently commit an intentional tort.”);

Maddox v. Bano, 422 A.2d 763, 764-65 (D.C. 1980) (holding that plaintiff––who alleged that

officers “carelessly and negligently” fractured his arm during an arrest––could not claim

negligence, writing, “[t]he terms ‘carelessly and negligently’ are conclusory assertions, and

without more the complaint does not raise a cognizable claim of negligence…. Moreover, the

trial court was not bound by plaintiff’s characterization of the action.”); District of Columbia v.

Tinker, 691 A.2d 57, 64 (D.C. 1997) (following and quoting Maddox, holding that plaintiff who

allegedly was hit and knocked down by officers could not state a claim for negligence and thus

avoid the one-year statute of limitations for intentional torts, because “excessive force is a term

of art denoting an act of assault or battery by law enforcement officials committed in the course

of their duties” and “nothing in the case law on excessive force even ‘hints at an element of

negligence, or a tort distinct from assault and battery.’”).

       Plaintiff repeatedly claims that the conduct of Sgt. Bedlion and the individual officers

was intentional and malicious. Therefore, she cannot claim that the facts suppoting her

intentional tort claims also support her claim for negligence.. Because, as a matter of law, there

is no such thing as a “negligent defamation” or a “negligent assault,” the Court should dismiss

the plaintiff’s negligence claims for failure to state a claim on which relief can be granted.



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    II.        The Court should dismiss Count IV because plaintiff has not sufficiently pled a
               claim for abuse of process.

          Both the defendants’ original Partial Motion to Dismiss and plaintiff’s Opposition to that

Motion agree that abuse of process occurs when “[p]rocess has been used to accomplish some

end which is without the regular purview of the process.” Morowitz v. Marvel, 423 A.2d 196,

198 (D.C. 1980). The issue before the Court is whether plaintiff’s factual allegations regarding

abuse of process are “enough to raise a right to relief above the speculative level, on the

assumption that all the allegations in the complaint are true (even if doubtful in fact).” Bell Atl.

Corp. v. Twombly, 550 U.S. 554, 555 (2007). Plaintiff’s allegations of abuse of process in this

case are merely conclusory statements and do not satisfy the test for surviving a motion to

dismiss.

          Courts use a two-pronged approach to analyze a motion to dismiss pursuant to Fed. R.

Civ. P. 12(b)(6). First, while a court generally considers plaintiff’s factual allegations to be true,

it also may “identify pleadings that, because they are no more than conclusions, are not entitled

to the assumption of truth. While legal conclusions can provide the framework of a complaint,

they must be supported by factual allegations.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950 (2009).

That is, to survive a motion to dismiss, a plaintiff’s complaint must contain “more than an

unadorned, the defendant-unlawfully-harmed-me accusation.” Id. Only after a court has decided

that a plaintiff has asserted such “well-pleaded factual allegations” does a court assume the

veracity of those allegations and determine whether they “plausibly give rise to an entitlement of

relief.” Id.

          In this case, plaintiff alleges that the officers who arrested her “did not have probable

cause” for the arrest. (Pl. Opp. at 8). This allegation is a legal conclusion, not a statement of fact

that the Court must accept as true. Plaintiff also alleges that the defendant officers “did not

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prosecute [plaintiff] for the purpose of establishing that she was guilty of a criminal offense.

Rather, they prosecuted her to cover up their own wrongdoing, for intimidation, and to create a

post-hoc justification for Sgt. Bedlion’s violence.” (Id.; Complaint ¶¶ 139-44). Again, these

allegations are “no more than conclusions” and “are not entitled to the assumption of truth.”

Iqbal, 129 S. Ct. at 1950. Therefore, plaintiff’s allegations of abuse of process should not

survive the defendants’ Partial Motion to Dismiss.

   III.      Count V fails because the defendant officers enjoy immunity for the relevant
             statements.

          Plaintiff contends that allegedly false statements that Officers Davis, Gamm, and Rubin,

and Sgt. Bedlion made in their police reports, and at plaintiff’s criminal trial, constitute

defamation. (Complaint ¶¶ 140-46; Pl. Opp. at 9). Because these defendants are entitled to

immunity from civil liability for these statements, this Court should dismiss plaintiff’s claims.

          Official immunity bars a plaintiff’s suit from the outset of litigation. Imbler v. Pachtman,

424 U.S. 409, 419 n. 13 (1976). The elements underlying official immunity are objective and a

judge may ascertain them. Moss v. Stockard, 580 A.2d 1011, 1021 n. 18 (D.C. 1990). As a

result, whether the alleged acts in question are protected by official immunity is an issue for the

court that may be resolved in a motion to dismiss. Id.; see also C.M. Clark Ins. Agency v.

Maxwell, 479 F.2d 1223 (D.C. Cir. 1973).

          Defendants’ allegedly false testimony at trial does not make defendants vulnerable to

defamation claims. Police officers enjoy absolute immunity as to their trial testimony: “all

witness-police officers as well as lay witnesses are absolutely immune from civil liability based

on their trial testimony in judicial proceedings.” Briscoe v. LaHue, 460 U.S. 325, 328 (1983).

Indeed, the defendant officers are entitled to testimonial immunity “no matter how egregious or

perjurious that testimony was alleged to have been.” Spurlock v. Satterfield, 167 F.3d 995, 1001

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(6th Cir. 1999). Accordingly, the defendant officers are entitled to absolute immunity for the

testimony they offered at plaintiff’s criminal trial.

        The defendant officers are also entitled to official immunity as to the statements they

made in police reports. The court in District of Columbia v. Thompson, 570 A.2d 277 (D.C.

1990) prescribed a two-part inquiry for determining whether allegedly defamatory statements

made by a District of Columbia official are immune from suit.1 See Kendrick v. Fox Television,

659 A.2d 814, 819 (1995). Immunity is established if the official’s statement “(1) falls within

the ‘outer perimeter’ of the official’s duties, and (2) involves ‘discretionary’ rather than

‘ministerial’ activity. Id. (citing Thompson, 570 A.2d at 294-95).

        With regard to the first prong of this inquiry, actions which “have more or less

connection with the general matters committed by law [to the official’s] control or supervision”

are considered to be within the “outer perimeters” of the official’s duties. Moss v. Stockard, 580

A.2d 1011, 1020 (D.C. 1993). One of the many duties of the members of the MPD is to draft

police reports. In this case, the statements made by the officers in their police reports were part

of their official duties as officers of the Metropolitan Police Department.

        The second part of the immunity test—that the challenged action is discretionary, not

ministerial—calls for a court to weigh “society’s concern to shield the particular government

function at issue from the disruptive effects of civil litigation” against “the vindication of private

injuries otherwise compensable at law.” Moss, 580 A.2d at 1021. The Thompson court

identified four factors relevant to this inquiry: “(1) the nature of the injury, (2) the availability of




1
 Although the court reheard Thompson and determined that provision of the Comprehensive Merits Personnel Act
preempted the plaintiff’s common law remedies for defamation, among other claims, the Thompson court’s
immunity analysis continues to be the law of this jurisdiction. See See Kendrick v. Fox Television, 659 A.2d 814,
n. 8 (1995).

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alternate remedies, (3) the ability of courts to judge fault without unduly invading the executive’s

function, and (4) the importance of protecting particular kinds of acts.” Id.

         In the case at hand, a balancing of these four factors weighs heavily in favor of finding

the officials’ statements are immune from suit. Allowing a defamation suit against officers

based on their police reports would allow a tremendous invasion of a police function, an integral

part of the initiation of criminal proceedings. Indeed, subjecting police officers to liability based

on statements made in their official reports would deter officers from making detailed accurate

reports and, therefore, would deter officers from fulfilling their duties. Therefore, the statements

of the defendant officers in their police reports, like the officer’s testimony at plaintiff’s criminal

trial, cannot form the basis of a defamation claim against the police officers, and the Court

should dismiss those claims.



   IV.      Officers Davis, Gamm, and Rubin are entitled to qualified immunity with
            respect to Count VI.

         Dismissals based on qualified immunity are especially appropriate early in the

proceedings of a case. As noted by the Supreme Court:

                Where the defendant seeks qualified immunity, a ruling on that
                issue should be made early in the proceedings so that the costs and
                expenses of trial are avoided where the defense is dispositive.
                Qualified immunity is “an entitlement not to stand trial or face the
                other burdens of litigation.”

Saucier v. Katz, 553 U.S.194, 200 (2001) (quoting Mitchell v. Forsyth, 472 U.S. 511, 526

(1985)). “As a result,” the Supreme Court wrote, “‘we repeatedly have stressed the importance

of resolving immunity questions at the earliest possible stage in litigation.’” Saucier, 533 U.S. at

201 (quoting Hunter v. Bryant, 502 U.S. 224, 227 (1991) (per curiam).




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        Officers Davis, Gamm, and Rubin are entitled to qualified immunity with respect to

Count VI of plaintiff’s Complaint—violation of 42 U.S.C. § 1983—because a government

official may not be held personally liable for actions that he would not reasonably have known

were unconstitutional. Saucier, 553 U.S. at 200 (2001). A police officer should prevail on the

qualified immunity defense even if he is mistaken in his action, if a reasonable officer could have

believed that the action taken was not in violation of clearly established constitutional law.

Anderson v. Creighton, 483 U.S. 635, 638 (l987). As noted by Justice Scalia, "it is inevitable

that law enforcement officials will, in some cases, reasonably but mistakenly conclude that

probable cause is present, and we have indicated that in such cases those officials – like other

officials who act in ways they reasonably believe to be lawful – should not be held personally

liable.” Id. at 641. A police officer therefore should prevail on a claim of qualified immunity if

a reasonable police officer possessing the same information could have believed that his conduct

was lawful. District of Columbia v. Evans, 644 A.2d l008, l0l5 (D.C. 1994).

        As discussed above, to survive a motion to dismiss, plaintiff’s complaint must contain

“more than an unadorned, the defendant-unlawfully-harmed-me accusation.” Ashcroft, 129 S.

Ct. at 1950. Plaintiff insists that the defendant officers are not entitled to qualified immunity

because “if an officer is directly involved in an arrest without probable cause, that officer is

liable under § 1983.” (Pl. Opp. at 11). Plaintiff attempts to support this claim by stating that

“the officers were aware that Ms. Kyle had done nothing wrong, and that the officers had an

opportunity to stop the arrest but did not.” These allegations are no more than conclusions and

Officers Davis, Gamm, and Rubin are entitled to immunity on these claims.


   V.      Plaintiff’s substantive due process claim fails because officers have absolute
           immunity as to their testimony at trial and official immunity as to statements in
           police reports.


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          Plaintiff bases her substantive due process claims against Officers Davis, Gamm, and

Rubin on allegations that the officers “intentionally fabricated evidence against her.” (Pl. Opp.

at 15). Specifically, in her Complaint, plaintiff alleges that these officers made false statements

in their police reports and also made false statements in their testimony at plaintiff’s criminal

trial. As discussed above, these police officers enjoy official immunity as to the statements made

in their police reports and absolute immunity as to the testimony they offered at plaintiff’s

criminal trial.


    VI.      The intracorporate conspiracy doctrine requires dismissal of all claims that the
             officers conspired to violate plaintiff’s rights.
          Plaintiff’s claim that the intracorporate conspiracy doctrine does not apply to this case is

incorrect. (Pl. Opp. at 19). The intracorporate conspiracy doctrine provides that, as a matter of

law, a corporation cannot conspire with its own employees or agents to deny federal civil rights.

Hamilton v. District of Columbia, 720 F. Supp. 2d 102, 109 (D.D.C. 2010). That is, a

corporation and its agents and employees constitute one single entity, incapable of entering into a

conspiracy with itself. Gladden v. Barry, 558 F. Supp. 676, 679 (D.D.C. 1983).

          The District of Columbia is a municipal corporation. As a matter of law, the “District of

Columbia and its officials . . . constitute a single entity.” McMillan v. Dist. of Columbia, 466 F.

Supp. 2d 219, 223 (D.D.C. 2006). “Where, as here, the complaint states a claim against a single

entity—the District of Columbia—and alleges a conspiracy among the city’s officials, the claim

must be dismissed ‘because no separate entity or individual is involved . . . with whom plaintiff

can allege the District conspired to violate [her] rights.’” Hamilton, 720 F. Supp. 2d at 102

(citation omitted). It is an undisputed fact that, at all times relevant to these allegations, the

individual defendants in this action were officials of the District of Columbia government.

Therefore, these officers could not have conspired with each other to deprive plaintiff of her civil

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rights. Therefore, as a matter of law, plaintiff has failed to plead a conspiracy in her Complaint

and the Court should dismiss plaintiff’s conspiracy claims.


       WHEREFORE, for the foregoing reasons, the defendants respectfully request this Court

grant their Partial Motion to Dismiss.

                                         Respectfully submitted,

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